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                        IN THE UNITED STATES DISTRICT COURT
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                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )            Crim. Case No.      09-CR-0749-JM
                                   )
12                  Plaintiff,     )            ORDER GRANTING CONTINUANCE OF
                                   )            SENTENCING HEARING
13   vs.                           )
                                   )
14   GUSTAVO RAYMOND RUBIO,        )
                                   )
15                  Defendant.     )
     ______________________________)
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17         For good cause shown, IT IS SO ORDERED that the sentencing
18   date presently scheduled for October 30, 2009 at 9:00 a.m. be
19   continued to Friday, December 11, 2009 at 9:00 a.m.
20         IT IS SO ORDERED.
21   DATED:    October 29, 2009
22
                                             Hon. Jeffrey T. Miller
23                                           United States District Judge
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